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                          UNITED STATES DISTRICT COURT FOR THE
                              SOUTHERN DISTRICT OF FLORIDA
                                      Miami Division

                                Case Number: 20-61120-CIV-MORENO

  FLORIDA FAIR HOUSING ALLIANCE,
  INC.,

                   Plaintiff,
  vs.

  PMG 11TH STREET HOLDINGS, LLC d/b/a
  SOCIETY LAS OLAS,

              Defendant.
 _________________________________________/

                          FINAL ORDER OF DISMISSAL AND
                   ORDER DENYING ALL PENDING MOTIONS AS MOOT

        THIS CAUSE came before the Court upon Notice of Settlement (D.E. 4), filed on June

 10, 2020. It is

        ADJUDGED that in light of the parties settling this action, this case is DISMISSED in

 accordance with the settlement agreement. The Court shall retain jurisdiction for six months to

 enforce the terms of the settlement agreement. It is also

        ADJUDGED that all pending motions are DENIED as moot.



        DONE AND ORDERED in Chambers at Miami, Florida, this 12th of June 2020.




                                       ______________________________________
                                             FEDERICO A. MORENO
                                             UNITED STATES DISTRICT JUDGE
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 Copies furnished to:

 Counsel of Record




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